
PER CURIAM
On consideration of the certified order of the Court of Appeals of Maryland disbarring respondent by consent from the practice of law in that jurisdiction; this court's December 5, 2017, order suspending respondent pending resolution of this matter and directing him to show cause why reciprocal discipline should not be imposed, the response thereto, and the statement of Disciplinary Counsel; respondent's D.C. Bar R. XI, § 14 (g) affidavit; and the December 29, 2017, letter from Disciplinary Counsel stating that any discipline *615should be imposed nunc pro tunc to December 5, 2017, it is
ORDERED that Rodney Michael Jones is hereby disbarred from the practice of law in the District of Columbia nunc pro tunc to December 5, 2017. See In re Sibley , 990 A.2d 483 (D.C. 2010), and In re Fuller , 930 A.2d 194, 198 (D.C. 2007) (rebuttable presumption of identical reciprocal discipline applies to all cases in which the respondent does not participate).
